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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08
     UNITED STATES OF AMERICA,            )
09                                        )
                 Plaintiff,               )           Case No. CR08-336C
10                                        )
           v.                             )
11                                        )           DETENTION ORDER
     BAO DUONG,                           )
12                                        )
                 Defendant.               )
13   ____________________________________ )

14
     Offenses charged:
15

16          COUNT 1:              CONSPIRACY TO MANUFACTURE MARIJUANA in
                                  violation of 21 U.S.C.§§ 841(a)(1) and 841(b)(1)(A) and 846
17
            COUNTS 5 - 6:         MANUFACTURE OF MARIJUANA in violation of 21 U.S.C.
18                                §§ 841(a)(1), and 841(b)(1)(B), and 18 U.S.C. § 2

19 Bond Modification Hearing: November 25, 2008.

20          The Court, having conducted a bond modification hearing pursuant to18 U.S.C. §

21 3142, and based upon the factual findings and statement of reasons for detention hereafter set

22 forth, finds the following:

23         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

24          (1)    Defendant was released on bond on October 17, 2008.

25          (2)    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

26 defendant is a flight risk and a danger to the community based on the nature of the pending


     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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01 charges. Application of the presumption is appropriate in this case.

02          (3)     Defendant has stipulated to his continued detention and withdrew his

03 modification request.

04          (4)     There are no conditions or combination of conditions other than detention that

05 will reasonably assure the appearance of defendant as required.

06          IT IS THEREFORE ORDERED:

07          (1)     Defendant’s bond is hereby revoked;

08          (2)     Defendant shall be detained pending trial and committed to the custody of the

09 Attorney General for confinement in a correctional facility separate, to the extent practicable,

10 from persons awaiting or serving sentences or being held in custody pending appeal;

11          (3)     Defendant shall be afforded reasonable opportunity for private consultation

12 with counsel;

13          (4)     On order of a court of the United States or on request of an attorney for the

14 government, the person in charge of the corrections facility in which defendant is confined

15 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

16 connection with a court proceeding; and

17          (5)     The Clerk shall direct copies of this Order to counsel for the United States, to

18 counsel for the defendant, to the United States Marshal, and to the United States Pretrial

19 Services Officer.

20                  DATED this 25th day of November, 2008.

21

22
                                                          A
                                                          JAMES P. DONOHUE
                                                          United States Magistrate Judge
23

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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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